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MONTAGUE v. YALE UNIVERSITY                                                             March 29, 2017

                                                                                                Page 1
           UNITED STATES DISTRICT COURT


           DISTRICT OF CONNECTICUT




           JACK MONTAGUE,

                               Plaintiffs,

                    -versus-               : CIVIL ACTION
                                           : No. 3:16-cv-00885-AVC
           YALE UNIVERSITY, ANGELA GLEASON :
           and JASON KILLHEFFER,           .
                                           •

                               Defendants                      x




                               Deposition of DAVID POST, taken pursuant to
                      Rule 30 of the Federal Rules of Civil Procedure,
                      held at the law offices of Jacobs and Dow, LLC,
                      350 Orange Street, New Haven, Connecticut, before
                      Rosanne LaBonia, LSR 249 and Notary Public in and
                      for the State of Connecticut, on March 29, 2017, at
                      10:20 A.M.




                                                Sanders, Gale & Russell
                                                   (203) 624-4157
Electronically signed by ROSANNE LABONIA (501-218-496-1146)               a912bd5d-a43f-4244-81d3-f55cd221574d
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                                                                                            Page 2
    1       APPEARANCE S:
    2
    3                            ATTORNEY FOR PLAINTIFFS:
    4                            TODD & WELD, LLP
                                 One Federal Street
    5                            Boston, MA 02110
                                 BY: ALEXANDRA DEAL, ESQUIRE
    6
    7
                                 ATTORNEY FOR DEFENDANTS:
    8
                                 DONAHUE, DURHAM & NOONAN
    9                            741 Boston Post Road
                                 Guilford, CT 06437
  10                             BY: PATRICK NOONAN, ESQUIRE
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    1                                     STIPULATIONS
    2
    3                  IT IS HEREBY STIPULATED AND AGREED by and between
    4       counsel for the respective parties hereto that all
    5       technicalities as to proof of the official character
    6       before whom the deposition is to be taken are waived.
    7                  IT IS FURTHER STIPULATED AND AGREED by and
    8       between counsel for the respective parties hereto that
    9       the reading and signing of the deposition by the
  10        deponent are NOT waived.
  11                   IT IS FURTHER STIPULATED AND AGREED by and
  12        between counsel for the respective parties hereto that
  13        all objections, except as to form, are reserved to the
  14        time of trial.
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  16                                                   * * * * *

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    5
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  13        39       E-mail to Brigham                                                37

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                                                                                         Page 30
    1                  Q        What section is that?
    2                  A        This is Section 7.3.

    3                  Q        It says, I'm sorry, that the Chair and the
    4       secretary may request clarification or what?
    5                  A        It says the Chair may request clarification
    6       and additional investigation.
    7                  Q        So what does "request clarification" mean?
    8                  A        I will ask questions of where there may be
    9       additional information needed; I will -- as there might
  10        be things that are confusing and I might request
  11        clarification there.
  12                   Q         Do you also edit the report?
  13                   A        I don't edit the report.       There will be

  14        places where I will make comments and edits for
  15        clarity, yes.
  16                   Q        What about the secretary?
  17                   A        The same role.
  18                   Q        Is there anybody else from Yale involved in
  19        reviewing fact finder's draft reports?
  20                   A        Yes.
  21                   Q        Who?
  22                   A        Our procedural advisor, our lawyer from the
  23        Office of General Counsel.
  24                   Q        I'm sorry, are those two separate people or
  25        are you saying that the lawyer is the procedural


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    1       advisor?
                       A        The lawyer is the procedural advisor.

                       Q        What do you mean by procedural advisor?

    4                  A        We have a procedural advisor for every case
    5       that helps us stick to our procedures and who provides
    6       legal advice on the case.
    7                  Q        Does he or she also provide something other
    8       than legal advice?
    9                  A        In this capacity, they're providing legal
  10        advice.
  11                   Q        Who was the procedural advisor for this
  12        complaint, that is the complaint that REDACTED
  13        involving REDACTED                                and Jack Montague?

  14                   A        Susan Sawyer.
  15                   Q        Does the procedural advisor stay with t'
  16        case throughout?
  17                   A        Until there's -- yes, until there is a
  18        decision made by the decision maker.
  19                   Q        And at that point, what happens?
  20                   A        If there's an appeal, another procedural
  21        advisor handles the appeal.
  22                   Q        Do you recall who handled the appeal in
  23        this case?
  24                   A        I do not.
  25                   Q        Now, you received a copy of the fact


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